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                                                                                     10/30/2008



      UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)




     In Re:                                                   Case No.:08-29924( RG)
          Christopher M. Antollino




                               ORDER OF RECUSAL AND TRANSFER

           The relief set forth on the following pages, numbered two (2) is hereby
           ORDERED.




DATED: 10/30/2008
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In Re: Christopher M. Antollino
Case No.08-29924(RG)



    It appearing that the within case is assigned to Judge

Rosemary Gambardella, and it further appearing that Judge

Gambardella must recuse herself;

    IT IS HEREBY ORDERED that the above captioned bankruptcy case

and any and all related adversary proceedings be transferred and

reassigned to another judge.




                                                     Approved by Judge Rosemary Gambardella October 30, 2008
